
53 N.Y.2d 910 (1981)
Farm Stores, Inc., Respondent,
v.
School Feeding Corp. et al., Appellants, et al., Defendants.
Court of Appeals of the State of New York.
Decided May 12, 1981.
Irving K. Fingerit for appellants.
Irving Levine for respondent.
Concur: Chief Judge COOKE and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and MEYER.
On summary consideration, order affirmed, with costs. We agree with the Appellate Division that plaintiff was entitled to recover a monthly service charge on the balance due and owing to plaintiff for goods sold and delivered in accordance with the express agreement of the parties. Furthermore, we cannot say that the court abused its discretion as a matter of law in permitting plaintiff to discontinue its second cause of action without prejudice.
